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IN THE UNITED STATES DISTRICT COURT F§§»-
FOR THE WESTERN DIS'I`RICT OF TENNESSEE

 

 

WESTERN DIvIsIoN 65 25 .»-1;1§§11
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UNITED STATES OF AMERICA )
)
Plaintiff, )
)
VS ) CR. NO. 04-20080-D
)
JIMMIE KESSNER )
)
Defendant. )
ORDER TO SURRENDER

 

The defendant, Jirnmie Kessner, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
P.O. Box 7000, Forrest City, Arkansas 72335 by 2:00 p.m. on FRIDAY, MAY 27, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Off'lce of the Clerk, F ederal Off'lce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this rhe£j' day oprn'l, 2005.

B§L/ RNI'CE B. Do'NALD
nat TED sTATEs DISTRICT JUDGE

 

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a 55 and/or 32{'0) FRCrP on 'O

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ACKNOWLEDGEMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20080 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Dan NeWsom

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Honorable Bernice Donald
US DISTRICT COURT

